        Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 1 of 10




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

ZOE HERRINGTON,                                                )
                                                               )
                 Plaintiff,                                    )
                                                               )
v.                                                             )      Case No.: 2:21-cv-2307
                                                               )      Division:
REDROCK CANYON GRILL –                                         )
KANSAS CITY, L.L.C.                                            )
    Serve Registered Agent:                                    )
    The Corporation Company, Inc.                              )      JURY TRIAL
    112 SW 7th Street, Suite 3C                                )      REQUESTED AT
    Topeka, Kansas 66603                                       )      KANSAS CITY, KANSAS
                                                               )
                 Defendant.                                    )

                                   PETITION FOR DAMAGES

        COMES NOW, Plaintiff, Zoe Herrington (herein referred to as “Plaintiff Herrington”), by

and through her undersigned counsel, and states as follows for her Petition for Damages against

Defendant RedRock Canyon Grill – Kansas City, L.L.C. (herein after collectively referred to as

the “Defendant Redrock Canyon Grill):

                                             PARTIES

     1. Plaintiff Herrington is an individual, over the age of eighteen, residing in St. Simons, Glynn

        County, Georgia. For purposes of diversity jurisdiction, Plaintiff is domiciled in Georgia

        and therefore has Georgia citizenship.

     2. Defendant Redrock Canyon Grill is a limited liability company organized in Kansas, doing

        business in Kansas, and may be served through its registered agent at the address listed

        above.    At all relevant times, Defendant did own, operate, and/or manage a restaurant

        known as Redrock Canyon Grill. Defendant represents and hold themselves out to the


                                                  1
  Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 2 of 10




   public, and in particular to Plaintiff Herrington, as a business offering food and beverage

   services to customers. For purposes of diversity jurisdiction, upon information and belief,

   Defendant Redrock Canyon Grill’s members are domiciled in Oklahoma and therefore

   Defendant Redrock Canyon Grill has Oklahoma citizenship.

3. At all relevant times, Defendant was acting through their actual or apparent agents,

   servants, and/or employees during the time of the negligent acts described herein and failed

   to maintain a safe premises, and caused or contributed to cause his injuries and damages.

4. At all relevant times, Defendant’s servants, employees, and/or agents, actual or ostensible,

   who were working at the time Plaintiff Herrington was a patron of Defendant’s business,

   were acting within the course and scope of their employment and/or agency with

   Defendant.

                               JURISDICTION AND VENUE

5. This case involves personal injuries sustained by Plaintiff Herrington in a slip and fall

   incident, which occurred on or about July 28, 2019, in Johnson County, Kansas as a result

   of the negligence of Defendant.

6. Jurisdiction is proper in this court pursuant to 28 U.S.C. §1332(a)(1) in that the Plaintiff

   and Defendant are citizens of different States and the amount in controversy exceeds the

   sum of $75,000.00, exclusive of interests and costs.

7. Plaintiff designates Kansas City, Kansas, as the place for trial in this matter because it is

   most convenient for the Plaintiff and her family, it is most convenient for the Plaintiff’s lay

   witnesses and expert witnesses, it is most convenient for Plaintiff’s counsel, and it provides

   for a fair trial in this matter.




                                             2
  Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 3 of 10




                         FACTS COMMON TO ALL COUNTS

8. On or about July 28, 2019, Plaintiff Herrington was a customer and business invitee at

   Redrock Canyon Grill (“Redrock”) located in Johnson County at 13505 Metcalf Ave.,

   Overland Park, Kansas 66223.

9. While on the premises, Plaintiff Herrington was leaving the restaurant, and had to ascend

   the restaurant’s stairs, and although she was walking as a careful, prudent person would,

   she was caused to slip and fall on the wet floor of Redrock.

10. The stairs were in a dangerous condition in that they were not properly marked, did not

   provide warnings or signs, did not contain any material that would allow patrons’ feet to

   grip the stairs, were made of dark tile that made it difficult to see the stairs, were in an area

   of the restaurant without adequate lighting to properly view the stairs, and were made of

   tile that would allow water to accumulate on the stairs.

11. The wet floor had no presence of any wet floor sign, or other indication of the dangerous

   condition.

12. Plaintiff Herrington, though walking in an ordinary, reasonable manner, was caused to fall

   on the restaurant floor, and fell hard to the ground, causing serious and permanent injuries

   due to the gross negligence, recklessness, and carelessness of the Defendant, their agents,

   servants, and/or employees.

13. As a direct and proximate result of the carelessness and negligence of the Defendant,

   Plaintiff Herrington sustained severe, permanent, progressive, painful and disabling

   injuries to her head, neck, left knee, left ankle, left foot, right finger, left wrist and left hip

   requiring surgery, significant pain management, testing, and therapy. Said injuries, pain



                                               3
   Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 4 of 10




   and damages are permanent, disabling and progressive. Plaintiff has suffered the above

   injuries, pain, and damages since the date of the incident, suffers them at the present time,

   and will suffer them in the future.

14. Plaintiff Herrington has incurred expenses in connection to these injuries and will continue

   to incur expenses in connection therewith in the future – the exact amount of which is

   unknown to them at this time.

15. As a further direct and proximate result, Plaintiff Herrington received extensive medical

   care and treatment and has suffered pain, anxiety of the body and mind and emotional

   distress. Plaintiff Herrington has in the past and will in the future incur large and substantial

   expense for doctors, physicians, hospitals, pharmaceuticals, medical procedures, and other

   medical care and treatment.

16. Plaintiff Herrington lost the capacity to provide assistance around her household. Plaintiff

   Herrington sustained a loss of ability to enjoy life and hobbies, lost opportunities and loss

   of enjoyment of life. Plaintiff Herrington has sustained pain and suffering as a result of

   the negligence, faults and omissions of the Defendant.

                               COUNT 1 – NEGLIGENCE

17. Plaintiff Herrington hereby incorporates all foregoing paragraphs of this Petition for

   Damages, as though fully set forth herein.

18. Defendant Redrock owned, maintained, controlled, inspected, secured, and had full access

   to the subject floor of the Redrock.

19. Defendant Redrock owed a duty of reasonable care to Plaintiff Herrington to secure and

   maintain the subject floor properly, inspect the subject floor for dangerous conditions; warn

   of dangerous conditions; and/or repair any dangerous condition.



                                              4
  Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 5 of 10




20. On July 28, 2019, the floor was secured and maintained improperly in that the floor was

   left unreasonably wet and that proper warning of the floor’s condition was not posted.

21. The stairs were in a dangerous condition in that they were not properly marked, did not

   provide warnings or signs, did not contain any material that would allow patrons’ feet to

   grip the stairs, were made of dark tile that made it difficult to see the stairs, were in an area

   of the restaurant without adequate lighting to properly view the stairs, and were made of

   tile that would allow water to accumulate on the stairs.

22. The floor constituted a dangerous condition and therefore was not reasonably safe for

   restaurant guests, including Plaintiff Herrington.

23. Defendant Redrock further knew, or should have known, that the floor was negligently

   cleaned, maintained, monitored, managed, and/or secured, that proper warning signs were

   not placed, and that this condition could cause serious personal injury to a person who may

   enter the restaurant.

24. Defendant Redrock, its agents, servants, and employees knew, or by using ordinary care

   should have known, of the defective, dangerous, and/or hazardous conditions set forth

   above, and they created such foreseeable conditions.

25. On July 28, 2019, Plaintiff Herrington did not know of the dangerous condition until she

   was injured.

26. Plaintiff Herrington was injured in a public are used by customers of the restaurant and

   maintained by Defendant Redrock.

27. Defendant Redrock, through its employees, agents, or assigns, had a duty to maintain,

   inspect, secure, control, and repair the restaurant floor to be in a safe and reasonable




                                              5
  Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 6 of 10




   condition; inspecting it for dangerous conditions; warning of dangerous conditions; or

   repairing dangerous conditions, but failed in all of these duties.

28. Defendant Redrock, by and through their servants, employees, and/or agents, actual or

   ostensible, breached their duty of care and committed acts of negligence and carelessness

   by failing to measure up to the requisite standards of due care. These acts include, but are

   not limited to:

       a. Failing to properly maintain the restaurant floor in a reasonably safe condition;

       b. Failing to properly secure the restaurant floor;

       c. Failing to properly inspect the restaurant floor to make sure it was properly

           maintained and secured;

       d. Failing to keep the floor from becoming too wet;

       e. Failing to warn restaurant guests, including Plaintiff Herrington, of the wet floor in

           the restaurant;

       f. Failing to properly mark the steps;

       g. Failing to warn restaurant guests, including Plaintiff Herrington, of the steps;

       h. Failing to properly maintain the steps in a reasonably safe condition;

       i. Failure to properly inspect the restaurant steps to make sure they were properly

           maintained and secured;

       j. Failing to have signage of the dangerous conditions; and/or

       k. By being negligent in other ways not now known, but which will be discovered

           during litigation;

29. As a direct and proximate cause of the Defendant’s breach as stated above, and as a result

   of such negligence, the restaurant floor and stairs were not reasonably safe.



                                             6
   Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 7 of 10




30. As a direct and proximate result of the Defendant’s breach, Plaintiff Herrington slipped as

   she attempted to go up the steps and fell on the wet floor of the restaurant.

31. As a direct and proximate result of the carelessness and negligence of the Defendant,

   Plaintiff Herrington sustained severe, permanent, progressive, painful and disabling

   injuries to her head, neck, left knee, left ankle, left foot, right finger, left wrist and left hip

   requiring surgery, significant pain management, testing, and therapy. Said injuries, pain

   and damages are permanent, disabling and progressive. Plaintiff Herrington has suffered

   the above injuries, pain, and damages since the date of the incident, suffers them at the

   present time, and will suffer them in the future.

32. Plaintiff Herrington has incurred expenses in connection to these injuries and will continue

   to incur expenses in connection therewith in the future – the exact amount of which is

   unknown to them at this time.

33. As a further direct and proximate result, Plaintiff Herrington received extensive medical

   care and treatment and has suffered pain, anxiety of the body and mind and emotional

   distress. Plaintiff Herrington has in the past and will in the future incur large and substantial

   expense for doctors, physicians, hospitals, pharmaceuticals, medical procedures, and other

   medical care and treatment.

34. Plaintiff Herrington lost the capacity to provide assistance around her household. Plaintiff

   Herrington sustained a loss of ability to enjoy life and hobbies, lost opportunities and loss

   of enjoyment of life. Plaintiff Herrington has sustained pain and suffering as a result of

   the negligence, faults and omissions of Defendant.




                                               7
      Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 8 of 10




   WHEREFORE, Plaintiff Zoe Herrington respectfully requests judgment against Defendant

in Count I of her Petition for Damages for such damages as are fair and reasonable, for prejudgment

interest, for costs incurred herein and for such further relief as this Court deems just and proper.



        COUNT II –PREMISES LIABILITY AGAINST DEFENDANT REDROCK

   35. Plaintiff Herrington incorporates all foregoing paragraphs of this Petition for Damages, as

       though fully set forth herein.

   36. Plaintiff Herrington was a guest of Redrock Canyon Grill and visited the restaurant at the

       time of injury.

   37. Defendant Redrock maintains areas open to the public and restaurant guests, including the

       subject restaurant floor.

   38. At the time of the injury, Plaintiff Herrington was in a public area maintained by Defendant

       Redrock and used by guests and other business visitors.

   39. Defendant Redrock, through its employees, agents or assigns, has a duty to maintain and

       inspect the restaurant floor.

   40. Defendant Redrock, through its employees, agents or assigns has a duty to provide a

       reasonably safe means of ingress and egress moving about the public portions of its

       restaurant.

   41. As a result of the fact that Defendant Redrock’s own employees, agents, or assigns

       maintained, cleaned, and inspected the floor, Defendant Redrock knew or should have

       known that the restaurant floor and steps were not properly maintained.

   42. The failure by Defendant Redrock to properly clean, secure, maintain, and/or inspect the

       restaurant floor created a dangerous condition.



                                                  8
   Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 9 of 10




43. Proper warning signs were not placed to warn business guests or visitors of its danger.

44. As a direct and proximate result of Defendant Redrock’s creation of a dangerous condition,

   Plaintiff Herrington was injured when attempting to ascend the stairs and slipped and fell

   on the wet restaurant floor.

45. As a direct and proximate result of the carelessness and negligence of the Defendant

   Redrock, Plaintiff Herrington sustained severe, permanent, progressive, painful and

   disabling injuries to her head, neck, left knee, left ankle, left foot, right finger, left wrist

   and left hip requiring surgery, significant pain management, testing, and therapy. Said

   injuries, pain and damages are permanent, disabling and progressive. Plaintiff Herrington

   has suffered the above injuries, pain, and damages since the date of the incident, suffers

   them at the present time, and will suffer them in the future.

46. Plaintiff Herrington has incurred expenses in connection to these injuries and will continue

   to incur expenses in connection therewith in the future – the exact amount of which is

   unknown to them at this time.

47. As a further direct and proximate result, Plaintiff Herrington received extensive medical

   care and treatment and has suffered pain, anxiety of the body and mind and emotional

   distress. Plaintiff Herrington has in the past and will in the future incur large and substantial

   expense for doctors, physicians, hospitals, pharmaceuticals, medical procedures, and other

   medical care and treatment.

48. Plaintiff Herrington lost the capacity to provide assistance around her household. Plaintiff

   Herrington sustained a loss of ability to enjoy life and hobbies, lost opportunities and loss

   of enjoyment of life. Plaintiff Herrington has sustained pain and suffering as a result of

   the negligence, faults and omissions of Defendant.



                                              9
      Case 2:21-cv-02307-HLT-KGG Document 1 Filed 07/14/21 Page 10 of 10




   WHEREFORE, Plaintiff Zoe Herrington respectfully requests judgment against Defendant

in Count II of her Petition for Damages for such damages as are fair and reasonable, for

prejudgment interest, for costs incurred herein and for such further relief as this Court deems just

and proper.



                                 DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all counts in this manner.

                                                             SPRADLIN KENNEDY, LLC

                                                             /s/Tracy L. Spradlin
                                                             Tracy L. Spradlin     KS#26199
                                                             4505 Madison Ave, Suite 110
                                                             Kansas City, MO 64111
                                                             Phone: (816) 768-6900
                                                             Fax: (816) 817-4299
                                                             Email: tracy@spradlinkennedy.com


                                                             NORMAN AND GRAVES, LLC

                                                             /s/Adam Graves
                                                             Phyllis A. Norman KS#21818
                                                             Adam Graves         KS#21826
                                                             4505 Madison Ave, Suite 220
                                                             Kansas City, MO 64111
                                                             Phone: (816) 895-8989
                                                             Fax: (816) 895-8988
                                                             Email: adam@ngkclaw.com
                                                             Email: phyllis@ngkclaw.com


                                                             ATTORNEYS FOR PLAINTIFF




                                                10
